    Case 5:19-cv-00094-H Document 22 Filed 02/11/20              Page 1 of 1 PageID 58



                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                LUBBOCK DIVISION

  DAVID MANUEL ARRELLANO,

  Plaintiff,

  v.                                                  Case No. 5:19-cv-00094-H

  GREAT LAKES EDUCATIONAL
  LOAN SERVICES, INC.,

  Defendant.

                                NOTICE OF SETTLEMENT

        PLEASE TAKE NOTICE that DAVID MANUEL ARRELLANO (the “Plaintiff”) and

GREAT LAKES EDUCATIONAL LOAN SERVICES, INC. (the “Defendant”), hereby notify the

Court the parties have reached settlement, and are in process of completing the settlement

agreement and filing dismissal papers. The parties anticipate filing dismissal papers within 45

days.

DATED: February 11, 2020                                  Respectfully submitted,

                                                          DAVID MANUEL ARRELLANO

                                                          By: /s/ Mohammed Badwan

                                                          Mohammed Badwan
                                                          SULAIMAN LAW GROUP, LTD.
                                                          2500 South Highland Avenue
                                                          Suite 200
                                                          Lombard, Illinois 60148
                                                          +1 630-575-8180
                                                          mbadwan@sulaimanlaw.com
